914 F.2d 1492Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Alfred SHEALEY, Plaintiff-Appellant,v.Randy LEE;  Sergeant Dixon;  Sergeant Wiggins;  OfficerBrody;  Officer Pilgree;  Officer Lodge,Defendants-Appellees.
    No. 90-7348.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 25, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (C/A No. 88-849-CRT).
      Alfred Shealey, appellant pro se.
      LaVee Hamer Jackson, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Alfred Shealey appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Shealey v. Lee, C/A No. 88-849-CRT (E.D.N.C. June 22, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    